
81 So. 3d 630 (2012)
Christopher G. MANGIAFICO, Appellant,
v.
STATE of Florida, Appellee.
No. 5D12-64.
District Court of Appeal of Florida, Fifth District.
March 9, 2012.
*631 Christopher G. Mangiafico, Milton, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
Although it appears that the trial court carefully considered this petition for jail credit, as the State properly concedes, the trial court failed to attach the records to the order to refute the facially sufficient petition.
REVERSED AND REMANDED.
SAWAYA, TORPY and EVANDER, JJ., concur.
